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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
TM/AES/MPR                                        271 Cadman Plaza East
F.#2013R00169                                     Brooklyn, New York 11201



                                                  March 24, 2015

By ECF and FedEx

Donald Dennis DuBoulay, Esq.               Kelley J. Sharkey, Esq.
305 Broadway, Suite 602                    26 Court Street, Suite 2805
New York, NY 10007                         Brooklyn, NY 11242

                Re:   United States v. Paul Rivera, et al.
                      Criminal Docket No. 13-149 (S-3) (KAM)

Dear Counsel:

              Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, please find
enclosed with this letter additional discovery in the above-referenced matter. This letter is
intended to supplement the government’s discovery letters dated April 2, 2013, May 17,
2013, August 20, 2013, October 2, 2013, November 8, 2013, March 21, 2014, April 11,
2014, May 30, 2014, July 2, 2014, August 22, 2014, September 5, 2014, September 7, 2014,
December 23, 2014, January 30, 2015, February 20, 2015, March 9, 2015 and March 16,
2015. Please consider this letter to be the government’s renewed request for reciprocal
discovery.

                On the enclosed DVD marked TF MAFIA DVD-28, please find copies of the
following:

Item                                            Bates Number/Identifier

Records received from Sprint for phone          Records are contained in a folder with Bates
number 917-642-6004                             number TFMAFIA 0019251

Records received from MetroPCS for phone        Records are contained in a folder with Bates
number 347-942-2059                             number TFMAFIA 0019252

Headshot of a co-conspirator                    TFMAFIA 0019253

Photographs of a co-conspirator                 TFMAFIA 0019254-61
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Item                                              Bates Number/Identifier

Photographs of TF tattoos on victim-              TFMAFIA 0019262-83
witnesses and co-conspirators

Photographs of TF members                         TFMAFIA 0019284-311

Photographs of defendant Rivera                   TFMAFIA 0019312-26

Records received from the New York State          TFMAFIA 0019327-59
Department of Corrections (redacted)


              In addition, enclosed please find a DVD marked TFMAFIA DVD-29 that
contains copies of items from defendant Rivera’s hard drive that requested by defendant
Garrett.

              Finally, please be advised that the government intends to call an individual to
provide expert testimony regarding money laundering, including the methods used to conceal
funds. Additional information about the individual and his or her testimony will be disclosed
by March 30, 2015, consistent with the Court’s pre-trial order.

              Please let us know if you have any questions.

                                                    Very truly yours,

                                                    LORETTA E. LYNCH
                                                    United States Attorney

                                           By:       /s/ Alixandra E. Smith
                                                    Alixandra E. Smith
                                                    Taryn A. Merkl
                                                    Michael P. Robotti
                                                    Assistant U.S. Attorneys
                                                    (718) 254-6370/6064/7576

Enclosures (TFMAFIA DVD-28, TFMAFIA DVD-29)

cc:    Clerk of the Court (KAM) (by ECF) (without enclosures)




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